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AQ 199A (Rev, 12/11) Order Setting Conditions oF Release
UNITED STATES DISTRICT COURT
for the
) FILED

District of Columbia
FEB 11 2024

Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia

United States of America

Vv.
Rachel Powell Case No. 24-mj-197

Defendant
ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant's release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection ofa DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: US District Court for the District of Columbia 333 Constitution Ave NW WDC

a Place

 

on
Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( )

(6)

The defendant is placed in the custody of:

Person or organization oo,
Address (onty if above is an organization)
City and state

 

 

ee eNO

 

who agrees to (a) supervise the defendant, (b) use every efTort to assure the defendant's appearance at all court proceedings, and (c) notily the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody.

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x)

x)

x)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Signed: __
Custodian Date

The defendant must:

(a) submit to supervision by and report for supervision to the US Pretrialfor WDPA as directed = is
telephone number (412) 395-6907 .nolaterthan oe

(b) continue or actively seek employment.

(c) continue or start an education program.

(d) surrender any passport to:  _US Pretrial Services for the Western DistrictofPennyslvania.

(e) not obtain a passport or other international travel document.

(f) abide by the following restrictions on personal association, residence. or travel: Travel is restricted to the Western District __

_of Pennsylvania.and_the District of Columbia for court purposes only. a

(g) avoid all contact. directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution.
including: _ oe oo

(h) get medical or psychiatric treatment: _... oe

(i) return to custody cach at soo elock after being released at o'clock for employment. schooling,
or the following purposes: _ oo 8 ee

Gj} maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

(k) not possess a firearm. destructive device. or other weapon.

(I) not use alcohol ( at all ( dexcessively.

(m) not use or unlawfully possess a narcotic drug or other controtled substances defined in 21 U.S.C. § 802. unless prescribed by a licensed
medical practitioner.

(n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing. the wearing of a sweat patch, a remote alcohol testing system. and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct. or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

(0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

{p) participate in one of the following location restriction programs and comply with its requirements as directed.

( J) Curfew. You are restricted to your residence every day ( ) from to or ( yas
directed by the pretrial services office or supervising officer: or

(X ) Gi) Home Detention. You are restricted to your residence at all times except for employment: education: religious services: medical,
substance abuse, or mental health treatment; attorney visils: court appearances: court-ordered obligations: or other activities
approved in advance by the pretrial services office or supervising officer: or

(Gil) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

(q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.

( X ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

(rt) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning. or traffic stops,

(s) Report as soon as possible to pretrial services any change in address, telephone or employment status. Verify _

 

address with pretrial services. Defendant must wear a mask whenever she leaves her.residence, ===
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AQ 199C (Rev OW08) Advice of Penalties Page 3 at 3 Pages

ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (Le., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant. or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both:

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both:

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both:

(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both,

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive, In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted,

Acknowledgment of the Defendant

| acknowledge that | am the defendant in this case and that | am aware of the conditions of release. | promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. | am aware of the penalties and sanctions set forth above.

signature requirement suspended due to COVID 19 pandemic

Defendant's Signature

Crtivand State

Directions to the United States Marshal

( ¥) The defendant is ORDERED released after processing,

( _) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
the appropriate judge at the time and place specified.

Date: Fee M, po?f a _

Beryl A. Howell, Chief U.S. District Judge

Printed name and ttle

 

DISTRIBUTION COURT DEFENDANT PRETRIAL SERVICE US ATTORNEY US MARSHAL
